Case 06-10725-gwz   Doc 3614-1   Entered 04/27/07 13:36:08   Page 1 of 4




                        SCHEDULE A




                                                                     1688943.1
                              Case 06-10725-gwz            Doc 3614-1      Entered 04/27/07 13:36:08        Page 2 of 4


                                                                      SUMMARY SHEET

In re:                                   )                               Fees Previously Requested    $227,901.25 NAME OF APPLICANT
                                         )                               Fees Previously Awarded      $227,901.25 Lewis and Roca LLP
USA Commercial Mortgage Company          )   Chapter 11
      06-10725 – Lead Case               )
                                         )   (Jointly Administered)      Expenses Previously           $40,900.51 ROLE IN THE CASE
USA Capital Realty Advisors, LLC         )                               Requested
      06-10726                           )   Affecting:                  Expenses Previously           $40,900.51 Attorneys for Official Committee
                                         )   ¨ All Cases                 Awarded                                  of Unsecured Creditors for USA
USA Capital Diversified Trust Deed       )   or Only:
Fund, LLC                                )   x USA Commercial                                                     Commercial Mortgage Company
        06-10727                         )   Mortgage Company
                                         )   ¨ USA Capital Realty                                                    CURRENT APPLICATION
USA Capital First Trust Deed Fund, LLC   )   Advisors, LLC
      06-10728                           )   ¨ USA Capital               Retainer Paid                           $0 Fees Requested: $980,259.00
                                         )   Diversified Trust Deed
USA Securities, LLC                      )   Fund, LLC
                                                                         Draws on Retainer                       $0 Expenses Requested: $80,326.22
       06-10729                          )   ¨ USA Capital First Trust   Replenishment of Retainer               $0
                         Debtors         )   Deed Fund, LLC              Remaining Retainer                      $0
                                         )
                                         )

                      FEE APPLICATION FOR PERIOD FROM AUGUST 1, 2006 THROUGH MARCH 12, 2007

            ATTORNEYS FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR USA COMMERCIAL
                                       MORTGAGE COMPANY.
                                YEAR              HOURS                         TOTAL
                                             ADMITTED                        BILLED                  RATE                     FOR
                                         TO PRACTICE                        CURRENT                                       APPLICATION
     PARTNERS
     Susan M. Freeman                            1975                           1.0                    $0                        $0
     Susan M. Freeman                            1975                         674.0                  $510                  $343,740.00
     Robert H. McKirgan                          1987                           9.8                  $425                    $4,165.00
     David E. Manch                              1984                           1.6                  $405                     $648.00
     Thomas J. Morgan                            1990                          18.7                  $400                   $7,480.00
     Lawrence A. Kasten                          2000                           0.4                  $390                     $156.00
     Rob Charles                                 1982                           2.2                    $0                        $0

                                                                                                                                         1822568.1
                     Case 06-10725-gwz   Doc 3614-1   Entered 04/27/07 13:36:08    Page 3 of 4


      ATTORNEYS FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR USA COMMERCIAL
                                 MORTGAGE COMPANY.
                          YEAR              HOURS                         TOTAL
                              ADMITTED                 BILLED                RATE                    FOR
                             TO PRACTICE              CURRENT                                    APPLICATION
Rob Charles                      1982                  977.8                $385                  $376,453.00
Jim Belanger                     1987                   10.0                $385                    $3,850.00
J. Henk Taylor                   1995                   30.4                $355                   $10,792.00
Brenden J. Griffin               1996                   13.5                $340                    $4,590.00
John C. Hinderaker               1997                   79.7                $340                   $27,098.00
                                                                                                         0
ASSOCIATES                                                                                               0
Scott K. Brown                    2001                     138.0            $320                   $44,160.00
Lisa Wong Lackland                2006                       1.4            $305                     $427.00
Erin O. Simpson                   2002                     140.4            $295                   $41,418.00
Abran E. Vigil                    2000                       1.9            $260                      $494.00
Darren T. Brenner                 2004                       3.6            $255                      $918.00
R. Michael Blakley                2006                      47.4            $230                   $10,902.00
Marvin C. Ruth                    2005                     109.2            $200                   $21,840.00
John Murphy                       2006                       1.6            $200                     $320.00
Patrick W. Mause            Admission pending               48.1            $200                    $9,620.00

PARALEGALS
Marilyn Schoenike                 N/A                       40.9              $0                        $0
Marilyn Schoenike                 N/A                      320.0            $180                   $57,600.00
Natalie W. Tanner                 N/A                        1.5            $160                     $240.00
Carlene Arnold                    N/A                        0.2            $170                       $34.00
Suzette M. Meskell                N/A                       17.8              $0                        $0
Suzette M. Meskell                N/A                       24.3            $145                    $3,523.50
Kim Cady                          N/A                        1.3            $140                     $182.00
Cyndee D. Clancy                  N/A                        0.8            $195                     $156.00

LIBRARY
Sharon Bundy                      N/A                        2.9            $110                      $319.00

                                                       2
                                                                                                                1822568.1
                     Case 06-10725-gwz   Doc 3614-1   Entered 04/27/07 13:36:08    Page 4 of 4


      ATTORNEYS FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR USA COMMERCIAL
                                 MORTGAGE COMPANY.
                          YEAR              HOURS                         TOTAL
                              ADMITTED                 BILLED                RATE                    FOR
                             TO PRACTICE              CURRENT                                    APPLICATION
LITIGATION
ASSISTANTS
Jeff A. Siatta                    N/A                        1.2            $145                     $174.00

PROJECT CLERKS
Christopher Jordan                N/A                       21.3              $0                        $0
Christopher Jordan                N/A                      133.6             $55                    $7,348.00
Melissa Linarez                   N/A                       14.0             $55                     $770.00
Kelly R. Francis                  N/A                       15.3             $55                     $841.50

TOTAL ALL TIMEKEEPERS                                  2,905.8                                    $980,259.00

BLENDED HOURLY RATE ALL
PROFESSIONALS = $393.42




                                                       3
                                                                                                                1822568.1
